
WRIGHT, J.
The objection to the receipt of the cause shown, because only signed by two of the three trustees, will not avail the objectors. The proceeding is against the corporation managed by three trustees — two, the majority, are competent to transact, business.
As to the application for leave to file counter affidavits in opposition to the cause shown. In our opinion, cases may arise in practice where it would be proper to receive counter affidavits. Is this-a case when, in the exercise of a sound discretion, the court should receive them? The affidavit on which the rule was granted, described the relators to be a religious society, which meets for religious purposes in T. 5, and is entitled to a dividend of the proceeds of religious section 29, in said township, for the year 1833-4 —that demands have been made on the trustees for the dividends, and refused, &amp;o. They now show cause as follows:
1. That they know no such society composed of the citizens of the township as the Universal Church, legally organized, &lt;fcc., entitled to dividends.
2. That in January, 1833, one Conant, and in January, 1834, one Broad well, claiming tobe agents of the Universal Church, presented to the trustees a paper purporting to contain a list of the names of the members of said society, and demanded contribution of the dividends, tyhieh list toas fraudulent, because composed o,f forty or *578fifty individuals, which were not, and did not claim to be members of that or of any other religious society: but the trustees offered to pay, if the agents would furnish an accurate list of the members, which has never been done.
561] *The law for distributing the proceeds of 29, requires every denomination of religious society, to appoint an agent to produce to the trustees in order to receive a dividend, a certified list of the members of such society, specifying that they are citizens of the township; and allows each society to enrol as members the names of all males belonging to it above fifteen years of age. It also requires the trustees of 29 to meet on the 1st Monday of January, near the centre of the township, and divide the proceeds of section 29, giving to each religious society that has furnished such list, a just proportion thereof.
The affidavit of the relator alone, might not have authorized the issue of a writ of mandamus, because it does not allege that the list of members was furnished; but the cause shown, supplies the omission in that respect, by showing that lists were presented, and that the distribution was refused because the trustees judged them fraudulent, as containing the names of persons whom they say do not belong to that or any other religious society. Fraud is never presumed, the burthen of proving its existence rests upon the party alleging it. We have no proof — nor should we try such a question in this summary way, if we had.
It appears then, that a society has been formed, which the general assembly has incorporated as a religious church — that the lists of members have been made out and presented to the trustees of the ministerial lands, and a dividend of the proceeds claimed under the law, which the trustees refuse to allow them, because some of the members, in their judgment, do not belong to that or any other religious society. We do not think these trustees clothed with power to sit in judgment, and determine without evidence on view, upon the faith of members of societies ostensibty religious, and say whether their tenets are religious or not. If such a power is confided to the trustees, we should soon arrive at the point of settling every one not religious, whose doctrine or faith differed from that of a majority of the trustees; and the standard of religion would change with every election, according to the success of particular nominations.
The case made shows an apparent legal right in the relator to distribution. As we understand the law, the right shown entitles the relator to an alternative mandamus, which opens the door for ' *579trying and settling the right. Although, therefore, we should have been better satisfied if the affidavits for the rule had been drawn with a more particular regard to the provisions of the statute, yet we think the relator entitled to an alternative writ. The counter *affidavits in this view would effect nothing, and the leave to [562 file them is refused.
The objections argued, as to the conclusive character of the return, do not apply to this case, in its present aspect. The cause shown under the rule is not a return to a mandamus in legal contemplation. That question may hereafter arise, when a return is made, and if so, it will be time enough to consider it.
A mandamus nisi is awarded against the trustees, returnable on Friday next. If the corporation disobey, process may issue to compel a compliance by the individual officers.
Upon the return of the mandamus nisi, several pleas were put in —to some of which issues were taken, and to others a demurrer was filed. The whole were reserved to the Court in Bank: see 6 Ohio, 445.
